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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

U.S. SECURITIES AND EXCHANGE                      )
COMMISSION,                                       )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )   Civil Action No. 1: 19-cv-1424 (RDA/MSN)
                                                  )
KRM SERVICES, LLC &                               )
ROBERTO J. CLARK, JR.,                            )

       Defendants.

            FINAL JUDGMENT AS TO DEFENDANT ROBERTQ J. CLARK, JR.

       This matter comes before the Court on the Securities and Exchange Commission's

("Commission") Unopposed Motion for Entry of Final Judgment as to Defendant Roberto J.

Clark ("Defendant"). Dkt. 44. The Commission filed a Complaint and has now reached a

settlement with Defendant. Defendant has entered a general appearance; consented to the Court's

jurisdiction over Defendant and the subject matter of this action; consented to entry of this Final

Judgment; waived findings of fact and conclusions of law; and waived any right to appeal from

this Final Judgment. The Court hereby GRANTS the Motion and enters Final Judgment as to

Defendant with the following provisions:

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section IO(b) of the

 Securities Exchange Act of 1934 ("Exchange Act") [15 U.S.C. § 78j(b)] and Rule l0b-5

 thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate

 commerce, or of the mails, or of any facility of any n�tional securities exchange, in connection

 with the purchase or sale of any security:

        (a)     to employ any device, scheme, or artifice to defraud;
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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that pursuant to Section

21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Defendant is permanently restrained and

enjoined from directly or indirectly, including but not limited to through any entity he owns or

controls, participating in the issuance, offer, or sale of any security, provided, however, that such

injunction shall not prevent Defendant from purchasing or selling securities for his own personal

account.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable

for disgorgement of $296,500.48, and prejudgment interest of $58,668.68, for a total of

$355,169.16, representing profits gained as a result of the conduct alleged in the Complaint,

which amount shall be deemed satisfied as to Defendant by the Restitution Order (Dkt. No. 39)




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